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                                            UNITED STATES DISTRICT COURT
                                           CENTRAL DISTRICT OF CALIFORNIA
                                                CRIMINAL MINUTES - GENERAL




 Case No.          SACR 19-61-JVS                                                       Date     October 30, 2020


 Present: The Honorable        JAMES V. SELNA, U.S. DISTRICT COURT JUDGE
 Interpreter

                Lisa Bredahl                         Not Present                               Not Present
            Deputy Clerk                       Court Reporter/Recorder                 Assistant U.S. Attorney


                 U.S.A. v. Defendant(s):          Present Cust. Bond      Attorneys for Defendants:     Present App. Ret.

Michael John Avenatti                              NOT          X      Dean Steward                      NOT               X



 Proceedings:        [IN CHAMBERS] Order re Pretrial Motions


             The Government and defendant Michael John Avenatti’s (“Avenatti”) have
presented a series of pretrial motions. The Court now enters it rulings.

I.       Avenatti’s Motion to Sever.

     Because the Court’s ruling on this Motion affects its analysis and the scope of its rulings
on many of the remaining Motions, the Court takes up the severance issue first.

            Avenatti moves to sever and separately try Counts 1 through 10 of the 36-Count
Indictment. (Docket No. 265.) The Government has filed an opposition (Docket No. 298),
and Avenatti has replied (Docket No. 320).

                     The Court grants the Motion.

                     1. Background.

              Counts 1 through 10 allege wire fraud schemes to embezzle or otherwise syphon
off the settlement proceeds of five clients (“Client Counts”). The alleged losses exceed $10
million.

             The remaining Counts deal with claims that Avenatti failed to collect and pay
business taxes for his business operations (Counts 11-18), interfered with the collection of taxes
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(Count 19), failed to file personal and business tax returns (Counts 23-29), bank fraud (Counts
30-31), aggravated identity theft (Count 32), and making false statements during a bankruptcy
proceeding (Count 33-36). These Counts are substantially more complex than the Client
Counts.

                2. Legal Standard.

             Rule 8 of the Federal Rules of Criminal Procedure sets the permissible scope for
joining claims:

                The indictment or information may charge a defendant in separate counts with 2 or
                more offenses if the offenses charged--whether felonies or misdemeanors or
                both--are of the same or similar character, or are based on the same act or
                transaction, or are connected with or constitute parts of a common scheme or plan.

(Fed. R. Crim. P. 8(a).) The Court has the power to sever claims or parties to avoid prejudice:

                If the joinder of offenses . . . in an indictment, an information, or a consolidation
                for trial appears to prejudice a defendant . . ., the court may order separate trials of
                counts, . . . or provide any other relief that justice requires.

(Fed. R. Crim. P. 14(a); emphasis supplied.) The Court may grant relief under Rule 14 even
where from a technical perspective, all counts are properly joined. United States v. Kinslow,
860 F.2d 963, 966-67 (9th Cir. 1988). The test under Rule 14 is whether joinder is “so
manifestly prejudicial that it outweighs the dominant concern with judicial economy and
compels the exercise of the court’s discretion to sever.” Id. (internal quotation marks deleted),
citing United States v. Brashier, 548 F.2d 1315, 1323 (9th Cir.1976), cert. denied, 429 U.S.
1111 (1977).

                3. Discussion.

           While maintaining that all Counts are properly joined, the Government proposes a
compromise in light of the present circumstances:

                Although neither Rule 8(a) nor Rule 14 provide defendant a basis
                for severance in this case, and such a severance would be inefficient
                under ordinary circumstances, the government recognizes that these
                are not ordinary times. Thus, the government would agree that this
                Court, in its discretion, can sever counts of the Indictment under
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                certain conditions. Specifically, in the interests of justice and
                under this Court’s inherent right and duty to manage its calendar,
                the government would agree to a severance of Counts 1-10 (the wire
                fraud counts) along with Counts 33-36 (the bankruptcy fraud counts)
                from the remaining counts of the Indictment . . ..

(Opposition, p. 2; emphasis supplied; id., pp. 23-25.) The Government conditions its proposal
on keeping the present trial date, or starting no later than January 26, 2021. The Government
acknowledges the uncertainties created by the COVID-19 pandemic.1 As the Government
notes, the Court has “broad discretion” to sever the remaining counts. (Id., p. 24, citing United
States v. Gay, 567 F.2d 916, 919 (9th Cir. 1978).

            Avenatti rejects the proposal, particularly the retention of the bankruptcy
misrepresentation claims. (Reply, pp. 1, 12-13.)

              The Government’s proposal is at least a tacit concession that the jury would have
difficulty compartmentalizing the evidence relevant to the Client Counts from the balance of the
evidence. Zafiro v. United States, 506 U.S. 534, 538-39 (1993); United States v. Ramirez, 710
F.2d 535, 546 (9th Cir.1983). While limiting instructions may aid the jury, United States v.
Baker, 10 F.3d 1374, 1387 (9th Cir.1993), the Court finds the efficacy of limiting instructions
doubtful if all 36 Counts are presented.

             In sum, Avenatti would be prejudiced if the Court did not grant a severance. Of
course, the severed Counts remain a part of the pleading and available for trial at a later date.

             The Court does not see a sufficient link between the bankruptcy misrepresentation
counts and the Client Counts. The fact that Avenatti allegedly did not report some clients’
settlements is overwhelmed by the overall complexity of the bankruptcy proceeding. (See
Opposition, 10.) More specifically, Count 33-36 are not limited to the client
misrepresentations.2

                1
                The Government points to “uncertainties regarding when
         jury trials will commence, the manner in which they would
         proceed, and what types and lengths of trial may
         proceed upon commencing of jury trials.” (Opposition, p. 23.)
                2
                  The Government summarizes these counts: “The Indictment alleges,
         among other things: defendant failed to report in the EA LLP bankruptcy revenue from cases,
         including from settlements related to the wire fraud victim-clients; hid receipts and deposits into
         bank accounts he was not supposed to open; and did not disclose payments to himself as an
         insider.” (Opposition, p. 10; emphasis supplied.)
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              At oral argument, the Government suggested that there were certain discrete
allegations in the bankruptcy counts that would be admissible with regard to the Client counts to
show intent or other elements of the fraud charges or would otherwise be admissible as
“inextricably intertwined” to the fraud allegations in the Client Counts. United States v.
Dorsey, 677 F.3d 944, 951 (9th Cir. 2012). While the Government alluded to certain
allegations, the record requires greater detail. The Government will submit a supplemental brief
detailing the specific allegation it would seek to introduce by October 23, 2020. Assuming
appropriate linkage, the Court will allow this evidence. The Court holds to its overall
conclusion that the bankruptcy counts should be severed.

              With regard to the Government’s other condition, the Court agrees that trial should
commence promptly. While the Court had hoped to proceed with the December 8 date, that
may no longer be possible. Orange County is still in the second tier of the state reopening plan
(red). The Court does not believe it likely that the Court will proceed with jury trials until the
County moves into the next tier (orange). The number of infections per day and the rate on
infections have been relatively flat lately, but the Court has no basis to predict when the
required improvements will be achieved.3 It takes 49 days between making a request that a jury
panel be summoned and the start of trial. The Court is committed to starting trial on the earlier
feasible date.

             The Court grants the Motion and severs Court 11 through 36. Such a trial will be
substantially shorter which is an important consideration in these times. It will also be fairer by
allowing the jury to focus on a limited set of similar transactions. The claims in Count 1
through 10 would be a major prosecution standing by themselves.

II.      Government’s Motions.

                A. Reciprocal Discovery Obligations.

            The Government moves to exclude any documents Avenatti is required but failed
to produce under his reciprocal discovery obligations, including evidence relating to an advice




                3
               https://www.nbclosangeles.com/news/coronavirus/orange-count
         y-poised-to-remain-in-red-tier-as-hospitalizations-continue-to-de
         cline/2442157/, last visited October 12, 2020;
         https://www.ocregister.com/2020/10/11/coronavirus-orange-county-r
         eports-244-new-cases-and-1-new-death-as-of-oct-11/, last visited
         October 12, 2020.
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of counsel defense.4 (Docket No. 283.) Avenatti has filed an opposition (Docket No. 301), and
the Government has replied (Docket No. 324).

                1. Background

             Pursuant the parties’ stipulation, the Court ordered Avenatti to make his reciprocal
discovery disclosures pursuant to Federal Rule of Criminal Procedure 16(b)(1) no later than
August 31, 2020. (Docket No 171.) Avenatti made no production by August 31, 2020, and has
made no production since. By March 20, 2020, Avenatti had received substantially all of the
Government’s discovery. (Docket Nos. 99, 195.)

                2. Legal Standard.

             Rule 16 of the Federal Rules of Criminal Rules Procedure imposes on a defendant
an obligation to make discovery:

                If a defendant requests disclosure under Rule 16(a)(1)(E) and the government
                complies, then the defendant must permit the government, upon request, to inspect
                and to copy or photograph books, papers, documents, data, photographs, tangible
                objects, buildings or places, or copies or portions of any of these items if:

                      (i) the item is within the defendant's possession, custody, or control; and

                      (ii) the defendant intends to use the item in the defendant's case-in-chief at
                      trial.

(Fed R. Crim. P. 16(b)(1); emphasis supplied.) Impeachment documents are excluded from
this obligation. United States v. Ellison, 704 F. App’x 616, 625 (9th Cir. Aug. 15, 2017).
Exclusion is the proper remedy where a defendant fails to comply with his discovery
obligations. United States v. Scholl, 166 F.3d 964, 972 (9th Cir. 1999).

              A defendant bears the burden of establishing an advice of counsel defense. United
States v. Ibarra-Alcarez, 830 F.2d 968, 973 (9th Cir. 1987). A defendant must make a threshold
showing that “there was a full disclosure to his attorney of all material facts, and that he relied
in good faith on the specific course of conduct recommended by the attorney.” (Id.)

                4
               While the defense is often referred to as advice of
         counsel, the evidence goes to whether a defendant had the
         requisite intent to defraud if he had a good faith belief, based
         on advice of counsel, that his conduct was proper.
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                3. Discussion.

             The Court rejects the contention that the Government has not made sufficient
discovery to trigger Avenatti’s reciprocal discovery obligation. The bulk of the Government’s
production was completed long ago. As Avenatti chronicles himself (Opposition, pp, 4-5), the
recent production has been relatively minor compared to past production. Moreover, Avenatti
acknowledges that large blocks of the recent discovery were duplicative. (Id., p. 4 n.3.) The
fact that Avenatti agreed to an August 31 date for reciprocal discovery undermines his
protestations that he has not had sufficient time to address his obligations.

                With regard to the advice of counsel defense, the Government has summarized in
some detail Avenatti’s testimony in other proceedings where he has claimed that he was acting
on advice of counsel. (Motion, pp. 8-10.) For example, when asked in a judgment debtor’s
examination about disbursements of settlement proceeds in Client 3’s case, he testified that “we,
at all times, adhered to the letter of the law in connection with the bankruptcy matter, and, in
fact, we consistently consulted with bankruptcy counsel and others to ensure that we did so.”
(Motion, Ex. 1, p. 27; pagination per docket.) The Government made several inquiries
regarding whether Avenatti would rely on advice of counsel. (E.g., Motion, Ex. 1.) In an
August 20, 2020 communication, Avenatti’s counsel advised that he did not have access to
sufficient information to make a determination. (Id., Ex. 5.)

             Notwithstanding the foregoing, the Court agrees with Avenatti that there is no rule
or case law authority that compels disclosure of his intent to assert advice of counsel and
produce all relevant material at this time.

             In view of the foregoing and given that exclusion should be exercised with care,
the Court orders:

              1. Avenatti shall commence a rolling production5 of Rule 16(b) materials within
seven days and shall complete production no later than December 1, 2020. This specifically
includes all materials for use at trial other than impeachment evidence. Dalliance is no
substitute for performance.

             2. Avenatti shall disclose his intent to rely on advice of counsel and all evidence
that would support that defense reasonably in advance of trial to permit the Government to
absorb the material and conduct whatever investigation or fact finding which would flow from

                5
               The Court notes that the Government has proceeded in this
         manner beginning last year.
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the disclosure but no later than 20 days before trial. The Court is particularly concerned about
disclosures to establish that “there was a full disclosure to his attorney of all material facts.”
Ibarra-Alvarez, 830 F.2d at 973. The Court does not view disclosure midway through trial and
either fair or efficient.6

            The disclosures required by the Order are limited to the claims and defenses which
would be asserted in Counts 1 through 10. When the remaining claims are set for trial, or upon
motion of any party, the Court will set dates for further disclosures.

                B. Other Bad Acts.

             The Government moves for an order in limine concerning the admission of other
acts, crimes and wrongs. (Docket No. 284.) Avenatti has filed an opposition (Docket No. 297),
and the Government has replied (Docket No. 335).

                1. Background.

             The thirty-six count indictment charges Avenatti with a wide range of criminal
conduct including defrauding his clients, discussed above, failure to pay corporate payroll taxes,
interference with tax collection, failure to pay personal income taxes, and fraud on the
bankruptcy court. The Government points to five sets of acts which it seeks to introduce under
Rule 404(b) of the Federal Rules of Evidence:

                • A 2017 embezzlement of a portion of client funds received from a settlement with
                the National Football League (“NFL”).

                • Failure to remit payroll taxes to the Internal Revenue Service withheld from the
                employees of his firm Eagan Avenatti LLP (“EA LLP”).

                • Failure to pay state taxes for his company Global Barista US, LLC (“Global
                Barristas”).

                • Commission of bankruptcy fraud during the course of his firm’s bankruptcy, In
                re: Eagan Avenatti LLP, No. 8:17-bk-11961-CB (C.D. Cal.) (“EA Bankruptcy”).



                6
               The Court expects that the parties will shortly stipulate
         to a further continuance. This will meet the Government’s
         concern that there be a specific date for disclosure.
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                • Commission of perjury during the course of judgment debtor’s examinations in
                the EA Bankruptcy.

If Avenatti testifies, the Government would seek to impeach him under Federal Rule of
Evidence 609 with his extortion conviction in United States v. Avenatti, No 1:19-CR-373-PPG
(S.D. N.Y.) (“Nike case”).

                2. Legal Standards.

             While evidence of other bad acts is not admissible for proof of character, it is
admissible for certain purposes:

                (1) Prohibited Uses. Evidence of a crime, wrong, or other act is not admissible to
                prove a person’s character in order to show that on a particular occasion the person
                acted in accordance with the character.

                (2) Permitted Uses; Notice in a Criminal Case. This evidence may be admissible
                for another purpose, such as proving motive, opportunity, intent, preparation, plan,
                knowledge, identity, absence of mistake, or lack of accident. On request by a
                defendant in a criminal case, the prosecutor must:

                      (A) provide reasonable notice of the general nature of any such evidence that
                      the prosecutor intends to offer at trial; and

                      (B) do so before trial--or during trial if the court, for good cause, excuses
                      lack of pretrial notice.

(Fed. R. Evid. 404(b); emphasis supplied.) The Ninth Circuit has established a four-part test for
assessing whether evidence should be admitted under Rule 404(b):

                The test for admitting evidence under 404(b) is whether: 1) it tends to prove a
                material fact; 2) the prior act is not too remote in time; 3) the evidence is sufficient
                to support a finding that the defendant committed the act; and 4) where knowledge
                and intent are at issue, the act is similar to that charged.

United States v. Tsinnijinnie, 91 F.3d 1285, 1288-89 (9th Cir. 1996) (citation omitted). In
addition, the probative value of the evidence must also not be substantially outweighed by the
danger of unfair prejudice. Fed. R. Evid. 403; United States v. Montgomery, 150 F.3d 983,
1000-01 (9th Cir. 1998); Tsinnijninnie, 91 F.3d at 1289.
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                Federal Rule of Evidence 609 provides the framework for admitting past
convictions:

                The following rules apply to attacking a witness's character for truthfulness by
                evidence of a criminal conviction:

                (1) for a crime that, in the convicting jurisdiction, was punishable by death or by
                imprisonment for more than one year, the evidence:
                       (A) must be admitted, subject to Rule 403, in a civil case or in a criminal
                       case in which the witness is not a defendant; and
                       (B) must be admitted in a criminal case in which the witness is a defendant,
                       if the probative value of the evidence outweighs its prejudicial effect to that
                       defendant; and

                (2) for any crime regardless of the punishment, the evidence must be admitted if
                the court can readily determine that establishing the elements of the crime required
                proving--or the witness's admitting--a dishonest act or false statement.

(Fed. R. Evid. 609(a).) Unlike civil cases which require a Rule 403 analysis, convictions
“involving dishonesty or false statement within the meaning of rule 609(a)(2) are automatically
admissible; the court need not conduct a balancing test.” United States v. Glenn, 667 F.2d
1269, 1272 (9th Cir. 1982).

                3. Discussion.

                      a. Other Bad Acts.

            The Court addresses each of the five matters the Government seeks to offer under
Rule 404(b). The present Motion provides Avenatti sufficient notice under Rule 404(b)(2)(A).
Moreover, the Government advised Avenatti in separate correspondence on February 4, 2020.
(See Opposition, Ex. A.)

             Embezzlement of NFL Settlement of Funds. The Court finds this evidence
admissible. The concept of client fraud directly parallels the conduct in the Client Counts. It
supports the knowledge and intent aspect of the charged crimes and rebuts any contention of
mistake. Tsinnijinnie, 91 F.3 at 1288-89. The incident is not remote, and the Government has
offered sufficient evidence to support a finding that Avenatti committed the acts. (Id.) This
evidence passes muster under Rule 403. It is no more prejudicial than the Client Counts
themselves, and has substantial probative value.
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              Perjurious Statements. The Government claims that a number of statements made
by Avenatti during judgment debtor examinations in the EA Bankruptcy were perjurious. With
two exceptions, these statements relate to payroll tax allegations, the failure to file person tax
returns, and EA LLP tax returns. (Motion, pp. 29-33.) The Court denies the Motion with
respect to these statements because they lack a sufficient relationship to the Client Counts.
Tsinnijinnie, 91 F.3 at 1288-89. And they present Rule 403 issues. However, the Government
cites to statements with respect to Clients 1 and 4. (Motion, pp. 29, 32.) These statements
relate directly to the Client Counts, and meet the requirements under Tsinnijinnie. The
Government has offered sufficient evidence to support a finding that Avenatti committed
perjury. Given the direct link to Avenatti’s dealing with Clients 1 and 4, any prejudice is far
outweighed by the probative value of the evidence. (Fed. R. Enid. 403.)

             Other Acts. Given the focus of the upcoming trial, the Court denies the Motion
with respect to the failure to remit employee withholding, the failure to pay corporate taxes, and
the bankruptcy fraud. None of these acts tend to prove a material fact with regard to the Client
Counts, nor would they prove knowledge and intent in this context. Tsinnijinnie, 91 F.3 at
1288-89. For many of the same reason the Court cited in granting severance, the Court
excludes these acts. In the context of a trial only on the Client Counts, this evidence would
prove prejudicially confusing to the jury and would require an undue expenditure of time with
minimal if any evidentiary return. (Fed. R. Evid. 403.) Moreover, these acts are not otherwise
admissible under “inextricably intertwined” doctrine because they bear no relationship to the
Client Counts. United States v. Dorsey, 677 F.3d 944, 951 (9th Cir. 2012).

             To be clear, this evidence may well be relevant to the remaining counts, but that is
an issue the Court reserves for another day.

             Admission of Nike Conviction. In the Nike case, Avenatti was convicted of wire
fraud, 18 U.S.C. §§ 1343, 1346; extortion, 18 U.S.C. 875(d); and attempted extortion, 18 U.S.C.
§ 1851. There can be little doubt that these crimes involve dishonest or false statements. The
Motion is granted: the conviction “must be admitted. (Fed. R. Evid. 609(a)(2).)

                4. Conclusion.

                The Motion is granted in part, denied in part, and reserved in part.

III.     Avenatti’s Remaining Motions.

                A. Disclosure of Grand Jury Materials.

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           Avenatti originally moved for the release of certain grand jury materials. (Docket
No. 276.) He subsequently withdrew the motion. (Docket No. 321.) The Motion is denied as
moot.

                B. Motion to Exclude Experts and for Daubert Hearing.

                  Avenatti moves to exclude three Government experts: John Drum, Kevin
Mohr, and Traci Kass. (Docket No. 285.) He also seeks a Daubert hearing. (Id.) The
Government has filed an opposition (Docket No. 299), and Avenatti has replied (Docket No.
339).

                1. Legal Standard.

              Federal Rule of Evidence 702 permits expert testimony from “[a] witness who is
qualified as an expert by knowledge, skill, experience, training, or education,” if:

         (a) the expert’s scientific, technical, or other specialized knowledge will help the
         trier of fact to understand the evidence or to determine a fact in issue; (b) the
         testimony is based on sufficient facts or data; (c) the testimony is the product of
         reliable principles and methods; and (d) the expert has reliably applied the
         principles and methods to the facts of the case.

(Fed. R. Evid. 702.)

               On this challenge, the Court is called to exercise its “gatekeeper” function to
“ensur[e] that an expert’s testimony both rests on a reliable foundation and is relevant to the
task at hand.” Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579, 597 (1993). A
trial court’s “gatekeeping” obligation to admit only expert testimony that is both reliable and
relevant is especially important “considering the aura of authority experts often exude.”
Mukhtar v. Cal. State Univ., 299 F.3d 1053, 1063-64 (9th Cir. 2002). Nevertheless, “[s]haky
but admissible evidence is to be attacked by cross examination, contrary evidence, and attention
to the burden of proof, not exclusion.” Primiano v. Cook, 598 F.3d 558, 564 (9th Cir. 2010).
Importantly, the Court’s gatekeeper role under Daubert is “not intended to supplant the
adversary system or the role of the [trier of fact].” Quiet Tech. DC-8, Inc. v. Hurel-Dubois UK
Ltd., 326 F.3d 1333, 1341 (11th Cir. 2003) (internal quotation marks and citation omitted). In
other words, at this stage, the Court is not supposed “to make ultimate conclusions as to the
persuasiveness of the proffered evidence.” (Id.) As the Ninth Circuit summed up in Alaska
Rent-A-Car, Inc. v. Avis, 738 F.3d 960, 969-70 (9th Cir. 2013):

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         Basically, the judge is supposed to screen the jury from unreliable nonsense opinions, but
         not exclude opinions merely because they are impeachable. The district court is not
         tasked with deciding whether the expert is right or wrong, just whether his testimony has
         substance such that it would be helpful to a jury.

             The requirement that expert testimony “help the trier of fact to understand the
evidence or to determine a fact in issue” goes primarily to relevance. Primiano, 598 F.3d at
564.

            The Rule 702(c) and (d) reliability indicators are subject to a more flexible
analysis. According to the Ninth Circuit,

                [i]n Daubert, the Supreme Court gave a non-exhaustive list of factors
                for determining whether scientific testimony is sufficiently reliable to
                be admitted into evidence, including: (1) whether the scientific theory
                or technique can be (and has been) tested; (2) whether the theory or
                technique has been subjected to peer review and publication;
                (3) whether there is a known or potential error rate; and (4) whether
                the theory or technique is generally accepted in the relevant scientific
                community.

Domingo ex rel. Domingo v. T.K., 289 F.3d 600, 605 (9th Cir. 2002).

              The trial court has “broad latitude” in deciding how to determine the reliability of
an expert’s testimony and whether the testimony is in fact reliable. Mukhtar, 299 F.3d at 1064;
see also Kumho Tire Co. v. Carmichael, 526 U.S. 137, 152 (1999). The “test of reliability is
‘flexible,’ and Daubert’s list of specific factors neither necessarily nor exclusively applies to all
experts or in every case.” Kumho Tire, 526 U.S. at 141.

             With these standards in mind, the Court considers the testimony and credentials of
each proffered expert.

                2. Discussion.

             John Drum. Drum is currently Vice President of Analysis Group, Inc. (Motion,
Ex. B, p. 1. [“Drum Resume”]. Prior to that he worked for one of the major accounting firms.
He holds a Master’s in accounting and a Bachelor’s in finance and accounting. (Id.) He has
provided expert reports and testimony in a number of federal and state proceedings. (Id,, pp. 2-
3.)
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              He is expected to testify concerning a number of financial transactions involving
Avenatti and his entities. (Motion, Ex. A, pp. 1-12 [“Government Expert Disclosure”].
Among other things, he will trace the distribution of funds from settlements received by the
clients identified in the Client Counts. (Id., pp. 2-5)

             Avenatti mounts five attacks on Drum’s testimony. First, he contends that Drum is
not qualified to testify on the indicated subjects. (Motion, pp. 3-4.) The Court finds otherwise.
Drum has extensive practical experience. Contrary to Avenatti’s assertion, Drum is a certified
public accountant. The fact that he has no peer reviewed publication goes to the weight of his
opinion, but is not disqualifying. See Miller v. Farmers Ins. Group, 2012 WL 8017244, at *5
(W.D. Okla. Mar. 22, 2012).

             Second, Avenatti contends that there is insufficient information to analyze Drum’s
methodology. (Motion, p. 4.) It is apparent that Drum uses the tools of a trained financial
analyst in presenting his summaries of various transactions. Moreover, the extensive charts
which the Government has produced as part of its opposition provide details concerning Drum’s
opinions and how he developed them. (Docket No. 309.)

              Third, Avenatti asserts that Drum’s reliance of reports and summaries prepared by
others will deprive him of his right of confrontation under Crawford.7 (Motion, pp. 4-5.) An
expert is entitled to rely on such sources for foundation and to support his opinion. Such
information is not received for the truth but simply as a basis for the opinion.8 (Fed. R. Enid.
703.)

             Fourth, Avenatti claims that certain opinions improperly invade the province of the
jury. (Motion, pp. 5-6.) Specifically, he challenges Drum’s conclusion that certain funds
received by Avenatti were “used . . . for his own personal expenses.”9 (Government Expert
Disclosure, pp. 6-10.) Yet the courts have recognized that only minimal expertise is required to
express such opinions. United States v. Figueroa-Lopez, 125 F.3d 1241, 1245 (9th Cir. 1997).

            Fifth, Avenatti asserts that Drum’s testimony will not be helpful to the jury. The
complexity of Avenatti’s business dealings is well beyond the understanding of the average


                7
                 Crawford v. Washington, 541 U.S. 36 (2004).
                8
                 The Court will so instruct the jury.
                9
               For example, during 2014, “[d]efendant used at lease
         approximately $1.4 million of EA LLP funds for his own personal
         use.” (Government Expert Disclosure, p. 7.)
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jury. Drum’s financial expertise will be helpful to the jury.

            In his reply, Avenatti objects to the fact that Drum will summarize “thousands of
documents.” (Reply, p. 2; bold in original.) This overlooks the fact that summaries are
admissible under Federal Rule of Evidence 1006 where the underlying documents have been
produced. The Government represents that is has made such production. (Opposition, p. 4.)

                This portion of the Motion is denied.10

             Kevin Mohr. Mohr is a professor of law, and has taught legal ethics for thirty
years. He is expected to testify to a lawyer’s ethical obligations. (Government Expert
Disclosure, pp. 12-16.) This would include restrictions in dealing with clients, including trust
account obligations. (Id., pp. 15-16.)

             Avenatti asserts that such testimony is “a waste of time, is cumulative and need not
be the subject of expert testimony. (Motion, p. 6.) The Court disagrees. A lawyer’s fiduciary
obligations are not part of the common knowledge of a lay juror. Nor are the complex rules
with regard to the handling of client funds and restrictions on transactions with clients. The
Court finds that such testimony would assist the jury, particularly with regard to the Client
Counts. (Fed. R. Evid. 702(a).) His testimony involves far more than a high level discussion
of honesty and fair dealing. (See Motion, p. 6.) Moreover to the extent that the Government is
pursing fraud by omission, Mohr’s testimony will support a finding of a duty to disclose. See
Unites States v. Shields, 844 F.3d 819, 822-23 (9th Cir. 2016).

             Avenatti makes no challenge to Mohr’s qualifications, nor does he challenge
methodology that relies on the application of California’s Rules of Professional Conduct. Mohr
meets the requirements of Rule 702(c) and (d).

             Whether or not Avenatti asserts reliance of counsel with regard to his dealings, the
testimony is relevant and even more relevant if he does assert the defense.

            At the hearing, Avenatti suggested that the ethical ground rules might be covered
by way of jury instructions in lieu of expert testimony. The Court invited the parties to submit
proposed jury instructions within thirty days.


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               However, the Court agrees that the Government should
         provide details concerning Drum’s prior testimonial assignments,
         and direct the Government to do so within ten day. (See Reply,
         p. 3.)
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                This portion of the Motion is denied.

             Tracy Kaas. Kaas is expected to testify concerning the establishment and
administration of special needs trusts for disabled individuals. (Government Expert Disclosure,
pp. 16-18.) The information is relevant to Avenatti’s representation of Client 1 and the manner
in which his case was settled.

              Avenatti asserts that Kaas has a conflict of interest because she worked for a co-
counsel firm along with Avenatti’s EA LLP in representing Client 1. This is a colorable basis
for disqualification. Obviously, if she had worked for directly for EA LLP she would have had
access to information potentially harmful to Avenatti. The Court is not prepared to assume that
the same is not true in working for co-counsel. The appropriate remedy is disqualification.
Sells v. Wamser, 158 F.R.D. 390, 393 (S.D. Ohio 1994) (“the Court does have inherent power
to disqualify an expert witness when a conflict of interest exists”).11

            Nevertheless, the subject of special needs trust is highly relevant to the Counts
involving Client 1. The subject matter is far beyond the ken of lay jurors and likely most
lawyers. Testimony in this area would be helpful to the jury. (Fed. R. Evid. 702(a).)

              The Court grants the Motion with respect to Kaas. In its disclosure, the
Government suggests that the issue could be covered by joint stipulations of fact regarding the
basics of special needs trusts. (Government Expert Disclosure, p. 16.) The parties are directed
to meet and confer concerning such a stipulation within twenty days. Absent agreement, the
Court is likely to grant the Government leave to designate an alternate expert.

              Evidentiary Hearing. Avenatti requests that the Court entertain a formal Daubert
hearing. (Motion, pp. 8-9.) The Court finds that the present record is sufficient for the Court
to exercise its “gatekeeper” functions. The reliability of the testimony or Drum and Mohr needs
no further pretrial testing. United States v. Jawara. 474 F.3d 566, 582-83 (9th Cir. 2007);
United States v. Cooper, 91 F. Supp. 2d 79, 82 (D.D.C. 2000) (“the interests of justice do not
require the Court to conduct lengthy hearings when the admissibility of well-established
principles can be readily determined at trial).

                3. Conclusion.

                The Motion is granted in part and denied in part.

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               The Court does not find that Kaas’ exploratory discussions
         with Callahan & Blaine disqualifying.
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                D. Motion for Privilege Review and Related Relief.

              Avenatti moves for a separate privilege review of material seized by the
Government as part of its pre-indictment investigation, discovery concerning the procedures
used by the Government Privilege Review Team, and an evidentiary hearing. (Docket No.
286.) The Government filed an Opposition (Docket No. 317; revised opposition), and Avenatti
filed a reply (Docket No. 345; revised reply).

              After extended discussion, the Court continued the Motion to November 16, 2020
at 9:00 a.m. Assuming that the Privilege Review Team completes its review of approximately
10,000 documents flagged for further review by November 2, 2020, and reports to the Court
and Avenatti, the parties are to submit any further briefing on the Motion by November 9, 2020.
In the interim, the Court directed Avenatti to file a further brief by October 23, 2020, showing
the linkage, if any, between documents in Exhibit B, the “clawed back” documents, to Mr
Steward’s recent declaration and Counts 1 through 10 of the Indictment.




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